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                    EXHIBIT 1
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    SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                              Civil Division
                       Central District, Stanley Mosk Courthouse, Department 56

 21STCV21403                                                                       October 1, 2021
 FRANTIC, INC. vs CERTAIN UNDERWRITERS AT                                                8:30 AM
 LLOYDS, LONDON SUBSCRIBING TO POLICY NUMBER
 B1333ECB190291, INCLUDING TALBOT SYNDICATE 1183
 LIBERTY M


 Judge: Honorable Holly J. Fujie                    CSR: None
 Judicial Assistant: O.Chavez                       ERM: None
 Courtroom Assistant: B. Chavez                     Deputy Sheriff: None

 APPEARANCES:
 For Plaintiff(s): Kirk Alan Pasich (Telephonic) By Anamay Carmel
 For Defendant(s): Jamie Mei Cheng By Mitchell J. Popham & William Mullen (Telephonic)




 NATURE OF PROCEEDINGS: Hearing on Demurrer - without Motion to Strike

 The matter is held.

 The Court hears oral argument.

 The Demurrer - without Motion to Strike filed by CERTAIN UNDERWRITERS AT LLOYDS,
 LONDON SUBSCRIBING TO POLICY NUMBER B1333ECB190291, INCLUDING
 TALBOT SYNDICATE 1183 LIBERTY MUTUAL INSURANCE EUROPE BRIT
 SYNDICATE 2987 BRIT SYNDICATE 2988 MUNICH RE GREAT LAKES INSURANCE SE
 WORLDWIDE HOLE N ONE on 08/16/2021 is Overruled.

 MOVING PARTY: Defendant Certain Underwriters at Lloyd’s, London Subscribing to Policy
 Number B1333ECB190291 (“Moving Defendant”)

 RESPONDING PARTY: Plaintiff Frantic, Inc.

 The Court has reviewed the moving, opposition and reply papers.

 BACKGROUND

 This case arises out of a dispute over the interpretation of the language of an insurance policy.
 Plaintiff scheduled an eight-show tour beginning on September 6, 2019. (Complaint ¶ 2.) The
 final six shows were scheduled to take place in South America (the “Shows”). (Id.) The first of
 the Shows was scheduled to take place on April 15, 2020 in Santiago, Chile. (Id.) By March 17,
 2020, the United States border was closed to non-essential traffic and by early April 2020, most
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 of the world’s destinations, including Chile, also had travel restrictions in place. (Id.) Plaintiff
 cancelled the Shows. (Id.) When planning the tour, Plaintiff purchased an insurance policy from
 Moving Defendant (the “Policy”) to protect it in the event of the cancellation or postponement of
 any of the Shows. (Complaint ¶ 3.) After cancelling the Shows, Plaintiff requested coverage
 from Moving Defendant, but Moving Defendant denied coverage on the grounds that the
 Plaintiff’s claim is barred under the Policy’s communicable disease exclusion (the “Exclusion”).
 (Id.)

 Plaintiff filed its Complaint (the “Complaint”) alleging causes of action for: (1) breach of
 contract; (2) breach of the covenant of good faith and fair dealing; and (3) declaratory relief.[1]

 The Complaint alleges that Moving Defendant did not conduct a thorough investigation before
 denying coverage and therefore Moving Defendant cannot conclusively say why the Shows were
 cancelled. (See Complaint ¶¶ 24-25.) The Complaint further alleges that Moving Defendant did
 not consider the distinction between a “virus” and a “disease,” and due to the omission of the
 word “virus” from the Exclusion, any shows that were canceled because of a virus are covered
 under the Policy. (Complaint ¶¶ 25-26.)

 Moving Defendant filed a demurrer (the “Demurrer”) to the Complaint, arguing that it properly
 interpreted the terms of the insurance policy and that it therefore neither breached a contract nor
 breached the covenant of good faith and fair dealing. Moving Defendant argues: (1) the
 coronavirus pandemic (the “Pandemic”) is the efficient proximate cause of the Shows’
 cancellations; (2) for the purpose of interpreting the Exclusion, there is no difference between a
 disease and virus and viruses therefore fall within the Exclusion; and (3) it would be improper to
 consider extrinsic evidence to evaluate the language of the Policy’s Exclusion with language
 containing the word “virus” in other insurance policy exclusions.

 REQUEST FOR JUDICIAL NOTICE

 The Court GRANTS Moving Defendant’s request for judicial notice.

 The Court GRANTS Plaintiff’s request for judicial notice.



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 DEMURRER

 Meet and Confer

 The meet and confer requirement has been met.

 Legal Standard

 A demurrer tests the sufficiency of a complaint as a matter of law. (Durell v. Sharp Healthcare
 (2010) 183 Cal.App.4th 1350, 1358.) The court accepts as true all material factual allegations
 and affords them a liberal construction, but it does not consider conclusions of fact or law,
 opinions, speculation, or allegations contrary to law or judicially noticed facts. (Shea Homes
 Limited Partnership v. County of Alameda (2003) 110 Cal.App.4th 1246, 1254.) With respect to
 a demurrer, the complaint must be construed liberally by drawing reasonable inferences from the
 facts pleaded. (Rodas v. Spiegel (2001) 87 Cal.App.4th 513, 517.) A demurrer will be sustained
 without leave to amend if there exists no reasonable possibility that the defect can be cured by
 amendment. (Blank v. Kirwan (1985) 39 Cal.3d 311, 318.)

 DISCUSSION

 Plaintiff and Moving Defendant dispute whether there was a breach of contract because each
 ascribes a different meaning to the Exclusion under the Policy.

 The interpretation of an insurance policy is a question of law for courts to determine. (See Waller
 v. Truck Ins. Exch., Inc. (1995) 11 Cal.4th 1, 18.) The plain language of the insurance policy
 governs its interpretation. (See Bank of the W. v. Superior Ct. (1992) 2 Cal.4th 1254, 1264-65.)
 If the meaning a layperson would ascribe to the language of a contract of insurance is clear and
 unambiguous, a court will apply that meaning. (Montrose Chem. Corp. v. Admiral Ins. Co.
 (1995) 10 Cal.4th 645, 666-67.) A policy provision is ambiguous if it is capable of two or more
 constructions, both of which are reasonable. (Waller, supra, 11 Cal.4th at 18.) If the language is
 ambiguous or unclear, “it must be interpreted in the sense in which the promisor believed, at the
 time of making it, that the promisee understood it.” (Bank of the W., supra, 2 Cal.4th at 1264-
 65.) Courts should “not strain to create an ambiguity where none exists.” (Waller, supra, 11
 Cal.4th at 18-19.)

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 Even if a contract is unambiguous, California courts consider extrinsic evidence when the
 evidence “is relevant to prove a meaning to which the language of the instrument is reasonably
 susceptible.” (Pac. Gas & Elec. Co. v. G.W. Thomas Drayage & Rigging Co. (1968) 69 Cal.2d
 33, 37.) Such consideration includes evaluating evidence of the parties’ intentions. (See id.) The
 burden is on an insured to establish that the occurrence forming the basis of its claim is within
 the basic scope of insurance coverage. (Aydin Corp. v. First State Ins. Co. (1998) 18 Cal.4th
 1183, 1188.) Once the insured has made this showing, the burden shifts to the insurer to prove
 the claim is specifically excluded. (Id.) An insurer moving to dismiss based on policy language
 may, however, “establish conclusively that this language unambiguously negates beyond
 reasonable controversy the construction alleged in the body of the complaint.” (Palacin v.
 Allstate Ins. Co. (2004) 119 Cal.App.4th 855, 862.) To do so, the court must conditionally
 consider extrinsic evidence alleged in the complaint, to determine if it would be relevant to prove
 a meaning to which the language of the instrument is reasonably susceptible. (George v. Auto.
 Club of S. Cal. (2011) 201 Cal.App.4th 1112, 1122.)

 The Communicable Disease Exclusion

 Under the Policy’s Exclusion, the Policy:

 “does not cover any loss directly or indirectly arising out of, contributed to by, or resulting
 from... any Communicable Disease or fear or threat thereof, unless such Communicable Disease
 infects an Insured Person and such infection of an Insured Person is the sole and direct cause of
 the necessary Cancellation, Abandonment, Postponement, Interruption, Curtailment or
 Relocation of any Insured Event; [ ] or the Venue is closed by or under the order of any
 government or public or local authority as a sole and direct result of a Communicable Disease
 which originates and manifests itself within the confines of the Venue.” (Complaint ¶ 18.)

 The Policy defines “Communicable Disease” as “any disease capable of being transmitted from
 an infected person or species to a susceptible host, either directly or indirectly.” (Complaint,
 Exhibit A § 4.4.)

 The Complaint alleges that Moving Defendant did not consider the distinction between a “virus”
 and resulting “disease” with respect to the distinction between the coronavirus disease (“COVID-
 19”) and the virus, severe acute respiratory syndrome coronavirus 2 (“SARS-Cov-2”).
 (Complaint ¶ 25.) The Complaint alleges that after the severe acute respiratory syndrome
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 (“SARS”) outbreak in 2003, the insurance industry drafted exclusions that would apply to losses
 from viruses and bacteria. (Complaint ¶ 26.) In 2006, the Insurance Services Office (“ISO”)
 drafted an exclusion entitled “Exclusion Of Loss Due to Virus Or Bacteria” which was approved
 by all 50 states and has become widely used by insurers. (Id.) The Complaint also alleges that
 Moving Defendant holds itself out as being “extremely sophisticated and knowledgeable in
 insuring against event cancellation losses” and “knowledgeable, experienced, reliable, willing to
 insure, and capable of insuring” musical tours against the risks of event cancellation.”
 (Complaint ¶ 9.) Therefore, because Moving Defendant did not specifically include the term
 “virus” in the Exclusion, cancellations due to the SARS-CoV-2 were not excluded from coverage
 under the Policy. (Complaint ¶ 26.)

 Moving Defendant argues that Plaintiff seeks to create ambiguity where none exists by
 separating the coronavirus pandemic into two parts: the disease COVID-19 and the virus SARS-
 CoV-2. (See Demurrer 8-10.) Because the plain meaning of the language of the Exclusion is
 unambiguous, Moving Defendant argues that the Court should not consider extrinsic evidence to
 interpret its terms. (Demurrer 10-12.) Moving Defendant also argues that Plaintiff’s proposed
 interpretation of the Exclusion would render its language meaningless because all communicable
 diseases are caused by a pathogen, so distinguishing the pathogenic cause from the illness would
 make it so that no cancellations caused by communicable diseases would be subject to the
 Exclusion. (Demurrer 9:27-10:3.)

 In its opposition (the “Opposition”), Plaintiff argues that, by the plain terms of the Policy, viruses
 are excluded from the Exclusion, particularly because of the language in standard ISO virus
 exclusion and exclusions in other insurance policies provided by Moving Defendant that contain
 the term virus. (See Opposition 9:14-9:19.)

 Notwithstanding the potential oversight in not including the word “virus” in the Exclusion, the
 Court finds that the ordinary meaning of the Exclusion includes viruses and interpreting it
 otherwise would render the provision meaningless. The Policy’s definition of “communicable
 disease” describes the means of transmission but does not specify any pathogenic sources.
 Therefore, under Plaintiff’s proposed interpretation, distinguishing the pathogen from the
 resulting disease, any disease could be construed to fall outside of the exclusion.[2] Further, the
 Court’s conditional consideration of the ISO standard virus exclusions does not adequately show
 that the language to the Exclusion is susceptible to ambiguity. The Opposition posits that
 Moving Defendant has other insurance policies that explicitly include exclusions containing the
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 word virus. The Complaint does not directly allege the language of Moving Defendant’s other
 policies and the Court may only consider extrinsic evidence alleged in the Complaint. (See
 George v. Auto. Club of S. Cal. (2011) 201 Cal.App.4th 1112, 1122.)

 Thus, the Court finds that the language of the Exclusion should be interpreted as including
 viruses.

 Efficient Proximate Cause

 Under the efficient proximate cause doctrine, when a loss is caused by a combination of a
 covered and specifically excluded risks, the loss is covered if the covered risk was the efficient
 proximate cause of the loss, but the loss is not covered if the covered risk was only a remote
 cause of the loss, or the excluded risk was the efficient proximate, or predominate cause. (Julian
 v. Hartford Underwriters Ins. Co. (2005) 35 Cal.4th 747, 750.) The insurer has the burden of
 proving that the cause of the loss is an excepted cause, and the jury decides which is the efficient
 proximate cause. (Mission National Ins. CO. v. Coachella Valley Water Dist. (1989) 210
 Cal.App.3d 484, 492.) If the facts are undisputed, the determination of efficient proximate cause
 is a question of law. (Id.)

 Moving Defendant argues that the Pandemic caused the cancellations. (Demurrer 4:10-4:11.)
 Plaintiff argues that Moving Defendant cannot conclusively say that the Pandemic is the efficient
 proximate cause of the cancellations because there are other adequately alleged causes that are
 covered under the Policy. (See Opposition 15:24-16:5.) The Complaint alleges, and the
 Opposition argues, that travel restrictions, the duty to mitigate damages, the need to “flatten the
 curve” and stay-at-home orders all caused the Shows’ cancellations. (See Complaint ¶ 20;
 Opposition 13-15.) Plaintiff argues that COVID-19 and SARS-CoV-2 still exist but that travel
 restrictions and restrictions on social gatherings have lifted and eased, suggesting that it was
 something more than just the virus/disease that caused the cancellations. (Opposition 15:8-
 15:23.)

 The Court finds, especially given the allegations in the Complaint that Moving Defendant
 inadequately investigated Plaintiff’s insurance claim and drawing all inferences in Plaintiff’s
 favor, the Complaint has adequately alleged that the coronavirus disease/virus is not the efficient
 proximate cause of the Shows’ cancellations.

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 The Court therefore OVERRULES the Demurrer to the breach of contract claim.

 Breach of the Covenant of Good Faith and Fair Dealing

 Moving Defendant’s argument for sustaining the Demurrer on the breach of the covenant of
 good faith and fair dealing cause of action was dependent on the Court sustaining the Demurrer
 on the breach of contract claim. Because the Court declines to do so, the Court also
 OVERRULES the Demurrer to the breach of the covenant of good faith and fair dealing claim.

 CONCLUSION

 The Court OVERRULES the demurrer in its entirety.

 Moving party is ordered to give notice of this ruling.

 Dated this 1st of October 2021

 /s/ Holly J. Fujie
 ______________________
 Hon. Holly J. Fujie
 Judge of the Superior Court


 [1] The first two causes of action are alleged against Moving Defendant.

 [2] A different conclusion could perhaps be reached if the definition omitted the words “virus or
 “viral” but included “bacteria” or “bacterial.”




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